  Case: 1:17-cv-01973 Document #: 33 Filed: 05/31/17 Page 1 of 18 PageID #:111



                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION


MOTOROLA SOLUTIONS, INC., and         )
MOTOROLA SOLUTIONS MALAYSIA           )
SDN. BHD.                             )
                                      )    Case No. 1:17-CV-01973
                 Plaintiffs,          )
                                      )
           v.                         )    Honorable Samuel Der-Yeghiayan
                                      )
HYTERA COMMUNICATIONS                 )
CORPORATION LTD.,                     )
HYTERA AMERICA, INC., and             )
HYTERA COMMUNICATIONS                 )
AMERICA (WEST), INC.                  )
                                      )
                 Defendants.          )
                                      )


   HYTERA DEFENDANTS’ MEMORANDUM IN SUPPORT OF THEIR MOTION
      TO DISMISS THE COMPLAINT UNDER FED. R. CIV. P. 12(b)(6), OR
       IN THE ALTERNATIVE, FOR A MORE DEFINITE STATEMENT
                      UNDER FED. R. CIV. P. 12(e)
       Case: 1:17-cv-01973 Document #: 33 Filed: 05/31/17 Page 2 of 18 PageID #:112



                                               TABLE OF CONTENTS

TABLE OF CONTENTS .............................................................................................................i

TABLE OF AUTHORITIES ...................................................................................................... ii

I.       INTRODUCTION ........................................................................................................... 4

II.      BACKGROUND ............................................................................................................. 6

         A.        The allegations in the complaint are based on events that occurred
                   more than five years ago. ..................................................................................... 6

                   1.        The complaint acknowledges the alleged acts of Motorola
                             Malaysia’s former employees took place long ago. ................................... 6

                   2.        If there was a conspiracy between Motorola Malaysia’s former
                             employees and Hytera China, Motorola should have been on
                             notice more than seven years ago. ............................................................. 6

                   3.        The only features the complaint describes were readily
                             observable and publicly touted by Motorola years ago. ............................. 7

         B.        Motorola’s pleadings in its related International Trade Commission
                   action demonstrate Motorola’s ability to analyze and obtain detailed
                   information about Hytera’s products. ................................................................... 8

III.     ARGUMENT .................................................................................................................. 9

         A.        The complaint relies on acts that occurred well outside the statute of
                   limitations for the causes of action it alleges. ........................................................ 9

         B.        The Court should dismiss the complaint, or at least order a more
                   definite statement, because the complaint fails to provide sufficient
                   information for Hytera to answer. ....................................................................... 11

                   1.        The complaint fails to establish Motorola USA, the only party
                             residing in this district, is a proper plaintiff. ............................................ 12

                   2.        The complaint fails to identify the alleged trade secrets. ......................... 13

                   3.        The complaint improperly assigns collective blame to the
                             Hytera defendants. .................................................................................. 15

IV.      CONCLUSION ............................................................................................................. 16




                                                                 i
     Case: 1:17-cv-01973 Document #: 33 Filed: 05/31/17 Page 3 of 18 PageID #:113



                                              TABLE OF AUTHORITIES



CASES

Ashcroft v. Iqbal,
   556 U.S. 662 (2009) ..............................................................................................................9

AutoMed Techs., Inc. v. Eller,
   160 F. Supp. 2d 915 (N.D. Ill. 2001).................................................................................... 12

Bank of Am., N.A. v. Knight,
   725 F.3d 815 (7th Cir. 2013) ............................................................................................... 12

Bell Atlantic Corp. v. Twombly,
    550 U.S. 544 (2007) ..............................................................................................................9

Bladeroom Grp., Ltd. v. Facebook, Inc.,
   No. 5:15-cv-1370-EJD,
   2015 WL 8028294 (N.D. Cal. Dec. 7, 2015) ........................................................................ 11

Brownmark Films, LLC v. Comedy Partners,
   682 F.3d 687 (7th Cir. 2012) .................................................................................................4

C&F Packing Co. v. IBP, Inc.,
  No. 93 C 1601,
  1998 WL 1147139 (N.D. Ill. Mar. 16, 1998)..........................................................................7

Carpenter v. Aspen Search Advisers, LLC,
   No. 10 C 6823,
   2011 WL 1297733 (N.D. Ill. Apr. 5, 2011) .......................................................................... 10

Computer Care v. Serv. Sys. Enterprises, Inc.,
  982 F.2d 1063 (7th Cir. 1992) ............................................................................................. 10

Davis v. Bank of Am. Corp.,
   No. 16 C 5993,
   2017 WL 569159 (N.D. Ill. Feb. 13, 2017) .......................................................................... 10

Henson v. CSC Credit Servs.,
   29 F.3d 280 (7th Cir. 1994) ...................................................................................................5

Mission Measurement Corp. v. Blackbaud, Inc.,
   216 F. Supp. 3d 915 (N.D. Ill. 2016).................................................................................... 11

Monolith Portland Midwest Co. v. Kaiser Aluminum & Chem. Corp.,
  407 F.2d 288 (9th Cir.) ..........................................................................................................8




                                                                  ii
     Case: 1:17-cv-01973 Document #: 33 Filed: 05/31/17 Page 4 of 18 PageID #:114



Mopex, Inc. v. Barclays Global Investors, N.A.,
  No. 01 C 5976,
  2003 WL 880996 (N.D. Ill. Mar. 5, 2003) .............................................................................8

RPM, Inc. v. Oatey Co.,
  No. 3282-M, 3289-M,
  2005 WL 663057 (Ohio Ct. App. Mar. 23, 2005) ..................................................................9

Thermal Zone Prod. Corp. v. Echo Eng’g, Ltd.,
   No. 93 C 0556,
   1993 WL 358148 (N.D. Ill. Sept. 14, 1993) ......................................................................... 10

Thermodyne Food Serv. Prods. v. McDonald’s Corp.,
   940 F. Supp. 1300 (N.D. Ill. 1996) ...................................................................................... 11

STATUTES

18 U.S.C. § 1836(b) ....................................................................................................................9

18 U.S.C. § 1836(b)(1) .............................................................................................................. 12

18 U.S.C. § 1836(d) .................................................................................................................. 10

765 ILCS § 1065/7 .................................................................................................................... 10

OTHER AUTHORITIES

Unif. Trade Secrets Act § 6, ULA TRADE SECR § 6 ............................................................... 11

RULES

Fed. R. Civ. P. 12(b)(6) ............................................................................................................. 12

Fed. R. Civ. P. 12(e).................................................................................................................. 12




                                                                   iii
     Case: 1:17-cv-01973 Document #: 33 Filed: 05/31/17 Page 5 of 18 PageID #:115



I.     INTRODUCTION

       The essence of the complaint filed by Motorola Solutions, Inc. (“Motorola USA”) and

Motorola Solutions Malaysia SDN, BHD (“Motorola Malaysia”) (collectively “Motorola”) is

that almost a decade ago in Malaysia, three Malaysian non-parties took trade secrets belonging to

either Motorola USA or Malaysia and used those secrets while working for Hytera

Communications Corporation, Ltd. (“Hytera China”) in China to develop products first sold

seven years ago. The complaint says nothing concrete about the alleged trade secrets, such as

what specific technologies they relate to, where they exist in Hytera’s products, which Motorola

entity owns them, or how, as the complaint alleges, the Hytera Defendants were able to hide the

alleged bad acts. This latter issue is particularly important since the complaint acknowledges

Hytera’s products, plans, and details were all public, and the products have been available for

many years for Motorola to examine them for any improper use of Motorola technology.

       One of the more glaring problems with this case is its untimeliness. The complaint must

allege acts that occurred on or after March 14, 2014 to avoid the statute of limitations for the

Federal Defend Trade Secret Act, and on or after March 14, 2012 to avoid the statute of

limitations for the Illinois Trade Secret Act. But the only acts of misappropriation the complaint

describes occurred in 2008, when three non-parties allegedly stole trade secrets from Motorola

Malaysia computers, or 2010, when Hytera China released a product Motorola accuses of

incorporating some undefined trade secrets.

       Another problem with the complaint is that it lumps together both Motorola companies,

making it impossible to know which one of them owns what (if any) trade secrets, and lumps

allegedly confidential documents with public documents (e.g., patents, product manuals, and

whitepapers) to describe what Motorola claims to be its proprietary information. The complaint

then confuses things further by lumping Hytera China with Hytera America, Inc. (“Hytera

                                                4
    Case: 1:17-cv-01973 Document #: 33 Filed: 05/31/17 Page 6 of 18 PageID #:116



Florida”) and Hytera Communications America (West), Inc. (“Hytera California”) to allege that

one or more of them conspired with the three former Motorola Malaysia employees to take one

or the other Motorola parties’ trade secrets and use them in the products Hytera China makes.

        Yet another significant problem with the complaint is the fact that Motorola’s devices

that contain the alleged trade secrets have been sold and used publicly for more than a decade.

During that time, Motorola has made public a large amount of information about those products

and their features in presentations, products, patents, and papers. As a result, only Motorola

knows what information might still be secret, but they are not telling.

        Federal Notice Pleading does not require a lot of detail, but it does require allegations to

which the defendants can respond. There is no way for the Hytera defendants to answer the

complaint. It does not identify what the Hytera defendants (as opposed to the three non-party ex-

Motorola employees) did, or what Motorola U.S. or Malaysia trade secrets (if any) made their

way into Hytera China’s products. Confusing matters worse is how long plaintiffs waited to sue,

making it likely that even if there was some Motorola information in the accused Hytera

products, that information is now public.

        Instead of providing such basic information, Motorola repeatedly issues general and

vague charges against the Hytera defendants. What the complaint omits is any explanation why

Motorola waited so long to act. It suggests it just noticed the former employees downloaded a

number of documents before they departed, but Motorola knew long ago these employees joined

Hytera. If Motorola waited nine years to check its own download records, it cannot seriously

claim it was diligent in protecting its secrets.

        Nor can Motorola legitimately assert that Hytera concealed its activity. Throughout its

complaint, Motorola relies on Hytera’s public statements and documents from 2008, 2009 and



                                                   5
      Case: 1:17-cv-01973 Document #: 33 Filed: 05/31/17 Page 7 of 18 PageID #:117



2010 as evidence of misappropriation. And, of course, Hytera released its products in 2010, so

Motorola had the opportunity to study those products in great detail. In fact, Motorola does have

a great deal of information about the accused products, which is evident from patent

infringement actions Motorola brought in this court and the International Trade Commission, the

latter complaint requiring detailed claim charts.

II.     BACKGROUND

        A.     The allegations in the complaint are based on events that occurred
               more than five years ago.

               1.      The complaint acknowledges the alleged acts of Motorola
                       Malaysia’s former employees took place long ago.

        The events that form the basis of the complaint revolve around three individuals who left

Motorola Malaysia and joined Hytera China in 2008. Complaint, ¶5. According to the complaint,

“in the weeks prior to their resignations from Motorola (and unbeknownst to Motorola), the

Hytera Employees surreptitiously downloaded and misappropriated more than 7,000 technical,

marketing, sales, and legal documents related to Motorola’s digital radio and infrastructure

products.” Id., ¶6. Motorola does not explain how they could have hidden such acts or when or

why the “subsequent investigation” was conducted.

               2.      If there was a conspiracy between Motorola Malaysia’s former
                       employees and Hytera China, Motorola should have been on
                       notice more than seven years ago.

        The complaint repeatedly refers to collusion between Motorola Malaysia’s former

employees and Hytera, but provides no specifics. For instance, the complaint cites as evidence of

Hytera China’s conspiracy, a Hytera China presentation made in 2009 by one of the former

Motorola Malaysia employees, Samuel Chia. Id., ¶50. Rather than suggesting a secret

conspiracy, this public act shows Hytera was not hiding anything.




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    Case: 1:17-cv-01973 Document #: 33 Filed: 05/31/17 Page 8 of 18 PageID #:118



       The complaint also alleges the three former Motorola Malaysia employees “were lured to

Hytera and accepted employment at Hytera as part of Hytera’s unlawful scheme to take

Motorola’s confidential trade secrets” (id., ¶57), but the complaint’s only evidence of any

“unlawful scheme” is, tautologically, the hiring of these individuals in 2008. The complaint also

alleges the three individuals hid the fact they were joining Hytera (id., ¶44), but never denies

Motorola knew they went to Hytera China shortly after they resigned. This is clear from the

complaint, which cites the 2009 public report noted above and a Hytera China patent application

naming Samuel Chia as an inventor that was published internationally in June 2010 and in the

United States in August 2011. Id., ¶58, citing U.S. Pat. No. 8,982,736.1

       Motorola’s complaint also describes a 65-page, mid-20102 presentation as showing

“Hytera publicly touts [misappropriated material as] its own ‘innovations,” which “evidenc[es] a

degree of wanton misappropriation rarely seen even in cases like these.” Complaint, ¶6. This

presentation, however, shows that Hytera was not hiding what it was doing and demonstrates that

Motorola did not think that (or care whether) Hytera had used Motorola trade secrets.

               3.     The only features the complaint describes were readily
                      observable and publicly touted by Motorola years ago.

       Motorola alleges certain features in “Motorola’s MotoTRBO hardware and software

include Motorola’s confidential and proprietary technology and trade secrets” (complaint, ¶ 28),

but the complaint cites a publicly available document, the MotoTRBO System Planner, which


       1
          A copy of the ’736 patent is attached as Exhibit A to the Declaration of Erik Puknys
(“Puknys Decl.”) in support of this motion. In deciding this motion to dismiss, the Court may
consider this and the other documents referenced in the complaint under the “incorporation-by-
reference” doctrine. See, e.g., Brownmark Films, LLC v. Comedy Partners, 682 F.3d 687, 690
(7th Cir. 2012) (“In effect, the incorporation-by-reference doctrine provides that if a plaintiff
mentions a document in his complaint, the defendant may then submit the document to the court
without converting defendant's 12(b)(6) motion to a motion for summary judgment.”).
        2
          Puknys Decl., Ex. B, http://www.w4cll.com/Digital/TDMA/HyteraIntro.pdf, at 51
(Phase I release of April 2010 and predicting Phase II in Q3 2010 and Phase III in 2011).


                                                7
    Case: 1:17-cv-01973 Document #: 33 Filed: 05/31/17 Page 9 of 18 PageID #:119



describes the allegedly stolen features. See Complaint, ¶¶29-35. The MotoTRBO System Planner

was published at least as early as 2008, the same year the former Motorola Malaysia employees

allegedly stole this information. Puknys Decl., Ex. C. It was published at least two more times, in

2010 and again in 2011, outside the statute of limitations period. Puknys Decl., Exs. D and E.

       B.      Motorola’s pleadings in its related International Trade Commission
               action demonstrate Motorola’s ability to analyze and obtain detailed
               information about Hytera’s products.

       Motorola filed infringement claim charts in its International Trade Commission (“ITC”)

action against Hytera that included detailed information based on Hytera’s public documents and

Hytera’s physical products, which Motorola purchased on the open market. See ITC

Investigation No. 337-TA-1053.3 Motorola cites to 24 Hytera documents that include Hytera’s

white papers, product release notes and specifications, presentations, service publications,

marketing materials, user guides, case studies, corporate overviews, and software. See Puknys

Decl., Exs. F-L, (claim charts from Motorola’s ITC Complaint). Motorola also analyzed Hytera

products purchased from retailers. Id. These documents and products gave Motorola a great deal

of information on Hytera’s products.

       For example, Motorola relies on Hytera’s “DMR Conventional Series: Release Notes,”

which includes detailed descriptions of features for Hytera’s DMR software and indicates that

Hytera released versions of the software with these features as early as September 2011. Puknys

Decl., Ex. M at 4 (Exhibit 69 to Motorola’s ITC Complaint). Motorola further relies on Hytera’s

“Introduction to Hytera DMR” presentation, which identifies features in its products including


       3
          The ITC pleadings are appropriate for consideration in a motion to dismiss under Fed.
R. Civ. P. 12(b)(6) because they are subject to judicial notice. See, e.g., Henson v. CSC Credit
Servs., 29 F.3d 280, 284 (7th Cir. 1994) (stating a “district court may also take judicial notice of
matters of public record without converting a 12(b)(6) motion into a motion for summary
judgment.”) (citations and internal quotation marks omitted).


                                                  8
   Case: 1:17-cv-01973 Document #: 33 Filed: 05/31/17 Page 10 of 18 PageID #:120



“mix mode” scanning, “GPS revert,” “Lone Worker,” “Telemetry,” and “Man Down.” Puknys

Decl., Ex. N (Exhibit 81 to Motorola’s ITC Complaint) (identifying products released with each

software version, features in each software version, and targeted release months for each

software version). The presentation indicates that all the software versions containing these

features were released or targeted for release as of May, 2011. Id. at 4-5. Motorola also cites to a

2009 presentation on the DMR protocol by a former Motorola Malaysia employee. Puknys Decl.,

Ex. O (Exhibit 70 to Motorola’s ITC Complaint).

III.    ARGUMENT

        This lawsuit is not a serious attempt to vindicate any rights. It was brought for publicity,

timed to coincide with a major trade show that was set to begin on March 27, 2017.4 On its face,

the complaint relies solely on allegations of acts that occurred before 2010, well outside of the

limitations period. The complaint contains admissions the Motorola Plaintiffs knew, or should

have known, whether there was basis for the complaint over seven years ago. The complaint

does not explain why Motorola waited to make the allegations in the complaint, but its press

releases5 show the complaint was a marketing ploy.

        A.      The complaint relies on acts that occurred well outside the statute of
                limitations for the causes of action it alleges.

        The complaint asserts two causes of action: trade secret misappropriation under the

federal Defend Trade Secret Act, 18 U.S.C. § 1836(b), and trade secret misappropriation under

the Illinois Trade Secret Act. Complaint, Counts I and II. The Defend Trade Secrets Act has a

statute of limitations of three years:
        4
         http://urgentcomm.com/iwce-2017
        5
         https://newsroom.motorolasolutions.com/news/motorola-solutions-files-patent-
infringement-and-trade-secret-misappropriation-complaints-against-hytera-communications.htm
        http://urgentcomm.com/motorola-solutions/motorola-solutions-sues-hytera-
communications-using-stolen-patents-trade-secrets



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   Case: 1:17-cv-01973 Document #: 33 Filed: 05/31/17 Page 11 of 18 PageID #:121



                A civil action under [18 U.S.C. § 1836(b)] may not be commenced
                later than 3 years after the date on which the misappropriation with
                respect to which the action would relate is discovered or by the
                exercise of reasonable diligence should have been discovered. For
                purposes of this subsection, a continuing misappropriation
                constitutes a single claim of misappropriation.

18 U.S.C. § 1836(d).

        The Illinois Trade Secret Act has a statute of limitations of five years:

                An action for misappropriation must be brought within 5 years
                after the misappropriation is discovered or by the exercise of
                reasonable diligence should have been discovered. For the
                purposes of this Act, a continuing misappropriation constitutes a
                single claim.

765 ILCS § 1065/7.

        Most of the allegations revolve around the alleged bad acts of the three former Motorola

Malaysia employees in 2008, yet Motorola provides no explanation for waiting to sue until after

the limitations periods for both Counts in their complaint. The facts in the complaint dispel any

dispute that Motorola knew or should have known about the facts underlying its complaint

before the statutes of limitations extinguished Motorola’s right to sue. See, e.g., C&F Packing

Co. v. IBP, Inc., No. 93 C 1601, 1998 WL 1147139, at *4 (N.D. Ill. Mar. 16, 1998) (a claim for

misappropriation accrues when the defendant “either wrongfully disclosed or used one or more

of [plaintiff’s] trade secrets.”).

        The complaint asserts that in 2008 the three Motorola Malaysia employees left to join

Hytera China and took plaintiff’s trade secrets. Complaint, ¶ 59. Although the complaint states

Motorola was not aware of where they were going when they left Motorola, it admits that it was

public knowledge that at least one of the ex-employees was working on the same technology for

Hytera China before 2010. See supra page 4.




                                                 10
   Case: 1:17-cv-01973 Document #: 33 Filed: 05/31/17 Page 12 of 18 PageID #:122



       Further, the complaint admits Hytera released its first competing product in 2010 and

relies on a 2010 Hytera presentation as evidence of Hytera’s “egregious[]” theft of Motorola

trade secrets. Hyperbole aside, the presentation certainly shows Motorola had sufficient

information about Hytera’s products to be on notice of in 2010. Id., ¶48. In fact, from publicly

available information, much of it available no later than 2011, Motorola was able to craft

extraordinarily detailed claim charts for the Hytera products, as shown by its complaint against

Hytera in the International Trade Commission. See supra pages 5-6. There is no excuse for

Motorola’s delay in bringing this suit.

       Because the complaint itself shows Motorola knew or should have known of the claims it

asserts in this case long before March 14, 2012, the complaint must be dismissed. See Mopex,

Inc. v. Barclays Global Investors, N.A., No. 01 C 5976, 2003 WL 880996, at **1, 3 (N.D. Ill.

Mar. 5, 2003) (finding Mopex “pleaded itself out of court” because the complaint revealed

Mopex learned of the alleged misappropriation when Barclays’s product was first publicly

traded, several months outside the limitations period).6

       B.      The Court should dismiss the complaint, or at least order a more
               definite statement, because the complaint fails to provide sufficient
               information for Hytera to answer.

       The complaint also fails to put each defendant sufficiently on notice of what it is accused

of because there is essentially no information about the allegedly misappropriated trade secrets.

A plaintiff’s conclusory allegations does not satisfy the requirement of Federal Rule of Civil

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          Motorola cannot argue that it still might recover for the continuing use of its trade
secrets after the limitations period. Both the ITSA and DTSA adopted language from the
Uniform Trade Secrets Act (“For purposes of this subsection, a continuing misappropriation
constitutes a single claim of misappropriation”) that “reject[ed] a continuing wrong approach to
the statute of limitations . . . .” See Unif. Trade Secrets Act § 6, ULA TRADE SECR § 6
(Editors’ Notes); see also Monolith Portland Midwest Co. v. Kaiser Aluminum & Chem. Corp.,
407 F.2d 288, 293 (9th Cir.) (“The fabric of the relationship once rent is not torn anew with each
added use or disclosure, although the damage suffered may thereby be aggravated. The cause of
action arises but once . . , .”).


                                                11
   Case: 1:17-cv-01973 Document #: 33 Filed: 05/31/17 Page 13 of 18 PageID #:123



Procedure 8(a)(2) that a complaint contain a “short and plain statement of the claim showing that

the pleader is entitled to relief.” Ashcroft v. Iqbal, 556 U.S. 662, 677-78 (2009). “Factual

allegations must be enough to raise a right to relief above the speculative level.” Bell Atlantic

Corp. v. Twombly, 550 U.S. 544, 555 (2007). Here, because the complaint does not meet the

pleading standard of the Federal Rules of Civil Procedure, it should be dismissed under Fed. R.

Civ. P. 12(b)(6). But even if the Court declines to dismiss the complaint on this ground, it

should, at a minimum, require Motorola to provide a more definite statement under Rule 12(e).

See Fed. R. Civ. P. 12(e) (“A party may move for a more definite statement of a pleading to

which a responsive pleading is allowed but which is so vague or ambiguous that the party cannot

reasonably prepare a response.”)

               1.      The complaint fails to establish Motorola USA, the only party
                       residing in this district, is a proper plaintiff.

       Only an “owner of a trade secret” may sue for misappropriation under the Federal Defend

Trade Secrets Act. See 18 U.S.C. § 1836(b)(1). The same is true for an action brought under state

trade secret statutes, like Illinois’s, based on the Uniform Trade Secrets Act. See, e.g., RPM, Inc.

v. Oatey Co., No. 3282-M, 3289-M, 2005 WL 663057, at *3 (Ohio Ct. App. Mar. 23, 2005) (“to

bring a claim for misappropriation of trade secrets, one must either own or have possession or a

right to control the trade secrets and have taken active steps to maintain their secrecy”).

       The only party with any connection to this Court is Motorola USA. But the complaint

does not allege Motorola USA owns the allegedly misappropriated trade secrets. Instead, in

describing whose trade secrets were allegedly stolen, the complaint refers only to “Motorola,”

which is defined to include both Motorola USA and Motorola Malaysia. Complaint, at 1.

Because it fails to show which Motorola Plaintiff owned or possessed which trade secret, the

complaint fails to meet the Supreme Court’s Twombly and Iqbal standards. See Davis v. Bank of


                                                 12
   Case: 1:17-cv-01973 Document #: 33 Filed: 05/31/17 Page 14 of 18 PageID #:124



Am. Corp., No. 16 C 5993, 2017 WL 569159, at *1 (N.D. Ill. Feb. 13, 2017) (“Rule 8(a)(2)

precludes lumping plaintiffs and defendants together without clarifying which plaintiff alleges

what wrongdoing against which defendant.”).

               2.      The complaint fails to identify the alleged trade secrets.

       A complaint asserting an ITSA claim must show how the alleged trade secrets differ from

public information. See, e.g., Carpenter v. Aspen Search Advisers, LLC, No. 10 C 6823, 2011

WL 1297733, at *3 (N.D. Ill. Apr. 5, 2011) (dismissing trade secret counterclaims because

“Aspen’s allegations, while lengthy, provide no specifics about the nature of the confidential

data for which it claims trade secret protection”); Thermal Zone Prod. Corp. v. Echo Eng’g, Ltd.,

No. 93 C 0556, 1993 WL 358148, at *5 (N.D. Ill. Sept. 14, 1993) (“In order for this court to

attempt to categorize the alleged material as a trade secret, it is necessary for the court to be

directed as to how this information is unique and protected. The necessary detail required in

pleading a cause of action under this Act is not present in the complaint.”).

       At best, the complaint appears to allege that Motorola trade secrets at issue were

incorporated in several features of its MotoTRBO products including “VOX,” “Telemetry,”

“Mixed Mode Scanning,” and “GPS Revert Channel.” See Complaint, at ¶¶29-35. But the

complaint, by incorporating a document publicly describing these features in 2008 (the same

year they were allegedly stolen), demonstrates these features are not trade secrets. See Puknys

Decl., Ex. C, at 37, 77, 87, 117, 128.

       Moreover, Motorola had those features in its MotoTRBO products, which the complaint

indicates were released in 2006. Complaint, ¶48. Any feature that is apparent to the user or that

can be reverse-engineered from a publicly available product is not protectable because it can be

“readily duplicated without involving considerable time, effort or expense.” Computer Care v.

Serv. Sys. Enterprises, Inc., 982 F.2d 1063, 1072 (7th Cir. 1992); see also 765 ITSA § 1065/2(a)

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   Case: 1:17-cv-01973 Document #: 33 Filed: 05/31/17 Page 15 of 18 PageID #:125



(“Reverse engineering or independent development shall not be considered improper means”);

Thermodyne Food Serv. Prods. v. McDonald’s Corp., 940 F. Supp. 1300, 1307 n.8 (N.D. Ill.

1996) (“Reverse engineering is the process by which a completed product is systematically

broken down into its component parts to discover the properties of the product with the goal of

gaining the expertise to reproduce the product.”) (internal quotation marks omitted).

       Motorola’s MotoTRBO product line is subject to public standards, Puknys Decl., Exs. D

and E (MotoTRBO System Planner) at 29 (stating that Motorola employs “manufacturer-specific

extensions that comply to the ETSI DMR Tier 2 standards”), and “Motorola has been awarded

thousands of patents covering, among other things, its digital two-way technology.” Complaint,

¶37. Neither category of information qualifies as a trade secret. See, e.g., Bladeroom Grp., Ltd. v.

Facebook, Inc., No. 5:15-cv-1370-EJD, 2015 WL 8028294, at *4 (N.D. Cal. Dec. 7, 2015) (“It is

well established that the disclosure of a trade secret in a patent places the information comprising

the secret into the public domain.”) (citation and internal quotation marks omitted).

       Defendants are not insisting that Motorola put its trade secrets in the complaint. See, e.g.,

Mission Measurement Corp. v. Blackbaud, Inc., 216 F. Supp. 3d 915, 921 (N.D. Ill. 2016)

(“while it is not enough to point to broad areas of technology and assert that something there

must have been secret and misappropriated, trade secrets need not be disclosed in detail in a

complaint alleging misappropriation for the simple reason that such a requirement would result

in public disclosure of the purported trade secrets.”) (citations and internal quotation marks

omitted). But Motorola has to do more than point to “broad areas of technology.” It needs to

indicate what portion of the accused features it asserts contain protected secrets, and represent




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   Case: 1:17-cv-01973 Document #: 33 Filed: 05/31/17 Page 16 of 18 PageID #:126



that those secrets have been maintained in confidence. 7 As it stands right now, there is no

indication that Hytera has done anything other than incorporate common and readily observable

features into its products, which Motorola had not challenged for seven years. Accordingly, the

complaint fails to assert a cognizable claim for trade secret misappropriation.

               3.      The complaint improperly assigns collective blame to the
                       Hytera defendants.

       A plaintiff cannot simply lump together a group of defendants and generally allege that

one of them, or some combination of them, is liable. See, e.g., Bank of Am., N.A. v. Knight, 725

F.3d 815, 818 (7th Cir. 2013) (“Each defendant is entitled to know what he or she did that is

asserted to be wrongful. A complaint based on a theory of collective responsibility must be

dismissed.”).The complaint lumps together three non-party ex-employees of Motorola Malaysia

with Hytera China, Hytera Florida, and Hytera California and assigns collective blame. Hytera

California and Hytera Florida are each mentioned just twice in the complaint, first in the

complaint’s introductory paragraph, where they are grouped together with Hytera China to form

the collective “Hytera” or “Defendants” that are invoked throughout the remainder of the

complaint (Complaint at 1), and again where they are individually listed in “The Parties” section

of the complaint (id., ¶¶14, 15).




       7
          Motorola’s discovery requests demand information that encompasses Hytera’s own
trade secrets and confidential information. Because Motorola has not yet identified its trade
secrets in enough detail to distinguish them from common knowledge, the parties are negotiating
a phased discovery process that stays at least some discovery from the Hytera Defendants until
Motorola has provided this identification. See, e.g., AutoMed Techs., Inc. v. Eller, 160 F. Supp.
2d 915, 926 (N.D. Ill. 2001) (“plaintiff will normally be required first to identify with reasonable
particularity the matter which it claims constitutes a trade secret, before it will be allowed . . . to
compel discovery”) (citations and internal quotation marks omitted).


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   Case: 1:17-cv-01973 Document #: 33 Filed: 05/31/17 Page 17 of 18 PageID #:127



IV.    CONCLUSION

       The complaint in this case fails to meet the standards for pleading required by the Federal

Rules of Civil Procedure and should therefore be dismissed. Alternatively, the Court should

order a more definite statement of Motorola’s causes of action.



Dated: May 31, 2017                              Respectfully submitted,


                                                        /s/ Erik R. Puknys
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                                               16
   Case: 1:17-cv-01973 Document #: 33 Filed: 05/31/17 Page 18 of 18 PageID #:128




                               CERTIFICATE OF SERVICE

       I, Erik R. Puknys, an attorney, hereby certify that on May 31, 2017, I caused a true and

correct copy of the HYTERA DEFENDANTS’ MEMORANDUM IN SUPPORT OF THEIR

MOTION TO DISMISS THE COMPLAINT UNDER FED. R. CIV. P. 12(b)(6), OR IN

THE ALTERNATIVE, FOR A MORE DEFINITE STATEMENT UNDER FED. R. CIV.

P. 12(e) to be served via the Court’s ECF system upon all counsel of record.




                                                           /s/ Erik R. Puknys




                                               17
